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                    Exhibit 19
      Evidence Packet in Support of Defendant’s Motions for Summary Judgment



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                                                                   Evidence Packet P.0418
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                                                       Evidence Packet P.0419
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                                                       Evidence Packet P.0420
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                                                       Evidence Packet P.0421
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   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:28698




                                                       Evidence Packet P.0422
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   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:28699




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   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:28700




                                                       Evidence Packet P.0424
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   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:28701




                                                       Evidence Packet P.0425
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   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:28702




                                                       Evidence Packet P.0426
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    REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                  #:28703




                                                        Evidence Packet P.0427
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    REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                  #:28704




                                                        Evidence Packet P.0428
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    REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                  #:28705




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    REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                  #:28706




                                                        Evidence Packet P.0430
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    REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                  #:28707




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    REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                  #:28708




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    REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                  #:28709




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    REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                  #:28710




                                                        Evidence Packet P.0434
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    REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                  #:28711




                                                        Evidence Packet P.0435
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    REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
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                                                        Evidence Packet P.0436
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                                  #:28713




                                                        Evidence Packet P.0437
